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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                                )
KASPERSKY LAB, INC.                             )
                                                )
and                                             )
                                                )
KASPERSKY LABS LIMITED                          )
                                                )
                           Plaintiffs,          ) Civ. Act. No. 17-cv-02697-CKK
                                                )
      v.                                        )
                                                )
U.S. DEPARTMENT OF HOMELAND SECURITY            )
                                                )
and                                             )
                                                )
KIRSTJEN NIELSEN, in her official capacity as   )
Secretary of Homeland Security                  )
                                                )
                           Defendants.          )
                                                )

   REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR
  SUMMARY JUDGMENT AND IN OPPOSITION TO DEFENDANTS’ MOTION TO
      DISMISS OR IN THE ALTERNATIVE FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       Binding Operational Directive 17-01 (the “BOD”) bars Plaintiffs from contracting with

the federal government, publicly labels them an information security threat, and results in

significant reputational and financial harm. DHS effected this debarment through an

unprecedented use of its information security standard-setting authority under the Federal

Information Security Modernization Act of 2014, 44 U.S.C. § 3551 et seq. (2014) (“FISMA”). In

so doing, Defendants circumvented well-established debarment processes and violated Plaintiffs’

due process rights including the right to pre-deprivation notice and a meaningful opportunity to

be heard.

       Defendants do not dispute that the BOD deprived Plaintiffs of their liberty interests but

nevertheless contend as a threshold matter that the Court is unable to adjudicate these injuries

arguing that Sections 1634 (a) and (b) of the National Defense Authorization Act for Fiscal Year

2018, Pub. Law No. 115-91, (“NDAA”) preclude standing because it effects an independent

debarment of Plaintiffs’ products and services. This fails to acknowledge that, presently, the

BOD is the only legal bar restricting Plaintiffs’ property rights, and that the BOD and the NDAA

have significant differences in their scope and effect. Plaintiffs clearly have standing to challenge

their own debarment through the APA. This Circuit’s case law makes clear that rescission of the

BOD need not redress every injury suffered by Plaintiffs—only the discrete injury stemming

from the BOD. A favorable ruling in Plaintiffs’ favor would do just that.

       On the merits, Defendants recast the 30-60-90 day implementation phase that followed

the BOD as a pre-deprivation period for notice and review. Defendants fail, however, to

recognize that the BOD effected the deprivation of Plaintiffs’ liberty interests at the time it was

issued, just as the “process” afforded after this deprivation equally fails to achieve minimum due

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process protections as set out further below. Additionally, Defendants’ efforts to create a

national security exception in order to avoid the requirement for pre-deprivation notice is not

justified by the record and has no application here.        Accordingly, the Court should grant

Plaintiffs’ motion for summary judgment and deny Defendants’ motion.


        I. Plaintiffs Have Standing to Challenge their Debarment.

        Defendants devote a large portion of their Opposition in support of their claim that

Plaintiffs do not have standing to challenge their administrative debarment effected through the

BOD, and that additional harm caused to Plaintiffs through separate Congressional action

precludes standing. This argument defies well-established precedent, common sense, and would

ultimately lead to the problematic use of legislative bans to shield procedurally deficient

executive debarments from judicial review.

        To establish Article III standing, a “plaintiff must have (1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016),

citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). Plaintiffs met the three

elements of standing to challenge their own debarment at the time of the Complaint, just as they

do today. Defendants do not and cannot reasonably dispute Plaintiffs’ injuries-in-fact: Plaintiffs’

loss of their legal right to sell to the government, and their reputational harm—either of which

establishes standing. Rather, Defendants argue that those injuries are not “fairly traceable to the

[BOD]” and are not “likely to be redressed by [rescission of the BOD].” Opp. at 15; see Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). The enactment of the NDAA simply does not

foreclose the redressability of Plaintiffs’ injuries.


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       Defendants argue that Plaintiffs lack standing on the grounds that enactment of Section

1634 of the NDAA has essentially duplicated the effect of the BOD. Defendants’ argument relies

upon cases holding that where an independent and unchallenged action will cause the same harm,

the injury is not redressable. See Opp. at 17-22. Neither predicate exists here.

           A. Plaintiffs Have Challenged the NDAA as an Unconstitutional Bill of
              Attainder.

       Plaintiffs have filed a Complaint in this Court challenging the NDAA as an

unconstitutional bill of attainder. See Complaint, Kaspersky Lab, Inc., et al, v. United States, 18-

cv-325 (D.D.C. Feb. 12, 2018). Nevertheless, Defendants maintain that Plaintiffs lack standing

because of the NDAA’s debarring effect on the Company. Defendants’ cited cases are

inapposite.1 The plaintiffs in those cases failed because they challenged only one governing rule,

regulation, or label, leaving another unchallenged rule that deprived them of the same right. In

other words, those were all half-measures; to exercise the right at issue, the petitioner had to

invalidate two regulations, but challenged only one; thus, a favorable ruling would leave them in

precisely the same position. Here, Plaintiffs are not asking for a half-measure and, if successful,

would not obtain a hollow victory; they are seeking to invalidate both federal actions. Each

action has its own discrete (but ultimately overlapping) scope and effect upon the Company.2


1
  Plaintiffs’ inapplicable authority, which turns on the existence of some unchallenged law, rule,
or label, includes Advantage Media, L.L.C. v. City of Eden Prairie, 456 F.3d 793, 801 (8th Cir.
2006) (unchallenged provisions of code bar proposed sign); White v. United States, 601 F.3d 545,
552 (6th Cir. 2010) (unchallenged state law barred cockfighting); Delta Const. Co. v. EPA, 783
F.3d. 1291, 1296 (D.C. Cir. 2015) (unchallenged NHTSA rule caused same harm as EPA
regulation); Paracha v. Obama, 194 F. Supp. 3d 7, 10 (D.D.C. 2016) (unchallenged Executive
decision caused same harm as statute); McConnell v. FEC, 540 U.S. 93 (2003)(unchallenged
provision of same statute). See Opp. at 15-16.
2
  Defendants’ other cases at Opp. 32-33 and the Preliminary Injunction Response at 16-17
(incorporated by reference in the Opposition) are inapposite because they involve: (1) challenges
to the wrong regulations—see Texas v. EPA, 726 F.3d 180, 199 (2013) (challenging rules instead
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       Plaintiffs have approached this matter appropriately and are “entitled to tackle one

roadblock at a time.” Idaho Bldg., 32 F. Supp. 3d at 1153, quoting Ibrahim v. DHS, 699 F. 3d

983, 993 (9th Cir. 2012). Indeed, they are going further and tackling two roadblocks in tandem.

Idaho Bldg. is not a “thinly reasoned outlier” as Defendants argue (see Opp. 20) but rather is

entirely consistent with established precedent on standing as endorsed by this Court. See, e.g.,

American Petroleum Tankers Parent, LLC v. United States, 963 F. Supp. 2d 59 (D.D.C. 2013).

Indeed it defies common sense that, when faced with multiple legal issues, plaintiffs should be

foreclosed at the same time from challenging one harm simply because of another not yet

realized. Here “plaintiff may not ultimately prevail if the Court vacates the [BOD]…but it cannot

prevail unless the Court does so, which is sufficient to satisfy the redressability requirement for

constitutional standing.” Tel. & Data Sys., Inc. v. FCC, 19 F.3d 42, 47 (D.C. Cir. 1994).

       Defendants have failed to acknowledge or address the differences between the BOD and

NDAA bans and instead repeatedly and erroneously assert that the prohibitions are “identical”

(see e.g. Opp. at 22 and 27), and that the BOD is subsumed into the NDAA. For the reasons set

out below, Plaintiffs demonstrate otherwise. In short, Defendants cannot avoid their

constitutional obligations in this case by using the NDAA as a shield, no matter how injurious

that separate action may be to Plaintiffs. The harms are meaningfully different and the challenges

properly separate.


of Act), (2) challenges seeking the wrong relief—Workers Union of Am., AFL-CIO v. Transp.
Sec. Admin., 492 F.3d 471, 477 (D.C. Cir. 2007) (challenging only agency’s decision to switch to
new rule when both old and new rule had same result for petitioner), (3) challenges where the
harm could not be undone—Physician’s Education Network, Inc. v. Department of Health,
Education & Welfare, 653 F.2d 621, 623 (D.C. Cir. 1981) (harm from Congress relying on report
no longer redressable where Congress had already relied on report), and (4) mismatches between
object of challenge and claimed injury—Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092
(9th Cir. 2014) (“claimed injury arises from the Secretary’s decision to let its permit expire, not
the designation in the notice”).
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        1. The NDAA Ban, Not Yet in Effect, Will be Different in Scope Than the BOD.
        One critical difference between the BOD and the NDAA is temporal: the NDAA is not

yet legally effective. It has an October 1, 2018, “Effective Date.” Today, the BOD is the only

action that deprives Plaintiffs of their legal ability to sell to the government. Defendants attempt

to conflate this by stating that the October 1, 2018, date “is a deadline, not a start date.” Opp. at

17 (emphasis in original). In reality, the October 1, 2018, date is both a deadline and a start date;

it is the effective date.

        Defendants cannot have it both ways, arguing that the BOD “is the operative prohibition

on agency use of Kaspersky [Lab] products” until October 1, 2018 (Final Information

Memorandum at AR0756-AR0757), in order to justify the need for the BOD—while also

arguing that the NDAA has complete and immediate effect by independently “making the

prospect of doing business with Kaspersky [Lab] during the implementation period a practical (if

not legal) impossibility.” Opp. at 18.

        The NDAA’s debarment is also different than the BOD’s in scope, in approach, in the

manner in which it was introduced, and in the reputational harm which it has caused to Plaintiffs.

For the reasons explained below, the wording of the BOD, and the manner in which it was

effected, are discrete and particularly damaging to Plaintiffs’ reputation, regardless of the

subsequent NDAA ban. Plaintiffs continue to consistently highlight those differences, which

have been brushed aside by Defendants, who continue to argue that the bans are “identical.”

        2. The Loss of Plaintiffs’ Legal Right to Sell to the U.S. Government Would be
           Redressed by a Favorable Decision Rescinding the BOD.
        The loss of Plaintiffs’ legal right to sell to the government will be redressed by a

favorable decision in this case. Rescission and remand of DHS’s determination will undo the



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debarment. This relief would remove the currently operative debarment, reinstating Kaspersky

Lab’s right to sell to the federal government. That is all standing requires.

       Defendants attack Plaintiffs’ first injury—the deprivation of Plaintiffs’ legal right to sell

to the government—as unredressable, arguing that the BOD will have no practical effect on

Plaintiffs because it is unlikely that Plaintiffs would be able to submit a winning bid for

government work. Opp. at 16-18. This misses the point. The injury is the deprivation of

Plaintiffs’ right to apply for a contract with the government. Defendants do not dispute

traceability on this basis—i.e., that the BOD caused Plaintiffs’ debarment, and hence, caused

their loss of the right to sell to the government. That certain government officials may believe

Plaintiffs would not be able to submit a successful bid does not diminish the right to submit that

bid in the first place. What matters is that rescission of the BOD restores the loss of this legal

right. See generally, e.g., ACORN v. United States, 618 F.3d 125, 134 (2d Cir. 2010) (holding

that ACORN had standing to challenge a federal appropriations law singling out ACORN by

name and temporarily cutting off its eligibility to receive federal funds, even though there was no

assertion that ACORN would receive federal funds, or would apply to government agencies for

funding).

       Defendants’ cases on redressability of the loss of a legal right are irrelevant here.

Defendants’ so-called “status quo” cases (see Opp. at 18) stand for the notion that “[w]hen the

existence of one or more of the essential elements of standing—in this case redressability—

depends on the unfettered choices made by independent actors not before the courts and whose

exercise of broad and legitimate discretion the courts cannot presume either to control or to

predict, it becomes substantially more difficult to establish standing.” Scenic Am., Inc. v. DOT,

836 F.3d 42, 50 (D.C. Cir. 2016)(emphasis added, internal quotations omitted). For example, in

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Renal Physicians Ass’n v. DOH, 489 F.3d 1267 (D.C. Cir. 2007) (cited at Opp. 23), plaintiff’s

claimed injury—loss of income for doctors caused by the challenged regulatory safe-harbor—

would not be redressed by invalidation of the challenged regulatory safe-harbor because there

was no showing that the relevant third parties (dialysis facilities and hospitals) would actually

pay more money to doctors if the safe-harbor were removed.3 Clearly, this has no applicability

here. Plaintiffs are not challenging the BOD in order to compel federal agencies to buy their

products again. They are simply seeking to recover the legal right to sell to those agencies, which

would be restored by the rescission of the BOD.

       The cases Defendants cite purporting to instruct the Court on how to assess the

redressability element are similarly unhelpful. For example, Defendants cite to Common Cause v.

Dept. of Energy, 702 F.2d 245 (D.C. Cir. 1983) for the proposition that redressability turns on

whether judicial intervention “will produce tangible, meaningful results in the real world”—but

that case involved a lawsuit that sought to require the government to develop an energy

conservation plan for government buildings, which has no bearing on the debarment in question.

In their previous filings (though not in the present briefing) Defendants also cited to Huntington

Branch, NAACP v. Huntington, 689 F.2d 391, 394 (2d Cir. 1982) (cited at Preliminary Injunction

Resp. 5-6). While Defendants appear to have abandoned this case, it remains important because

of the Second Circuit’s holding that plaintiffs had standing because a contrary holding would

otherwise lead to a problematic result: “[D]ismissal of a complaint because of a lack of

committed financing may well prevent any litigant from challenging a zoning ordinance.” Like

the zoning ordinance in Huntington, the injuries stemming from the actions at issue may not be
3
  See also, Nat’l Wrestling Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930 (D.C. Cir. 2004)
(applying same rule) and St. John’s United Church of Christ v. FAA, 520 F.3d 460 (D.C. Cir.
2008)(same); U.S. Ecology, Inc. v. DOI, 231 F.3d 20 (D.C. Cir. 2000)(same).

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perfectly cured in the minds of all government officials who may yet be reluctant to buy

Plaintiffs’ products, but that does not mean that Plaintiffs lack standing to challenge those

official acts.4

        3. Plaintiffs’ Reputational Injury is Fairly Traceable to the BOD and Likely Would
           be Redressed by a Favorable Ruling.
        Defendants also attack the traceability and redressability of Plaintiffs’ reputational injury,

arguing that (1) Kaspersky Lab’s reputational injury is not fairly traceable to the BOD because of

other factors harming the Company’s reputation (Opp. at 24), and that (2) “overturning the BOD

would not redress Kaspersky [Lab’s] asserted reputational harm.” Id. at 23. However, Foretich v.

United States, 351 F.3d 1198 (D.C. Cir. 2003)—the seminal D.C. Circuit case concerning the

traceability and redressability of reputational injuries by government action—unequivocally

rejects these arguments.

        In Foretich, the D.C. Circuit rejected the same traceability argument Defendants now

advance here: “[Even if] damage to Dr. Foretich’s reputation comes in part from the publicity

surrounding the custody dispute and [his ex-wife’s] allegations, not solely from the [Elizabeth

Morgan Act]…this misses the point. The Act itself has caused significant harm to Dr. Foretich.”

Id. at 1216. Defendants mischaracterize Foretich as a case which “rested on a straightforward

causal relationship between the government action and the asserted reputational harm.” See Opp.

at 27. But in Foretich, as here, there were several causes of injury to Dr. Foretich’s reputation

and nevertheless the Court rejected the same redressability arguments advanced by Defendants

here, explaining: “[B]y vindicating Dr. Foretich’s assertion that Congress unfairly and

4
  Defendants also cite Int’l Union of Bricklayers & Allied Craftsmen v. Meese, 761 F.2d 798, 801
(D.C. Cir. 1985), which involved a union’s challenge to an immigration policy that allowed
foreign workers to come to the United States. There, the court denied relief to such “an abstract
‘injury,’” disallowing the action “just because one disagrees with it, or even finds it odious,
distasteful and offensive.”
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unlawfully rendered a judgment as to his character and fitness as a father, declaratory relief will

provide a significant measure of redress sufficient to satisfy the requirements of Article III

standing.” Id. The D.C. Circuit rejected the notion that Dr. Foretich had to “parse out” the Act’s

harm from other negative attention—yet this is precisely what Defendants argue Kaspersky Lab

must do here. See Opp. at 26.

       Plaintiffs have demonstrated very real and direct reputational harm stemming from the

BOD, indeed Plaintiffs have submitted evidence of customers (both retail and commercial)

specifically citing the BOD (rather than any other source) as the reason they decided not to make

a purchase of—or decided to return—Plaintiffs’ products. See Fayhee Decl., Ex. E; Gentile Decl.

¶¶ 19-24, 32-36, 42.

       Defendants also conflate their arguments relating to the separate NDAA ban by arguing

that “had the Foretich court faced those problems, it almost certainly would have reached a

different outcome” on the question of standing based on reputational injury. Id. at 27. This is

purely hypothetical and without basis. Foretich clearly supports Plaintiffs’ standing based on real

and traceable (though not exclusive) reputational injury caused by the BOD.

       The court in Foretich also rejected another of Defendants’ arguments advanced here: that

Plaintiffs cannot establish redressability unless they show that their lost (commercial and retail)

customers would re-engage with their products upon rescission of the BOD. See Opp. at 24.

Specifically, in Foretich, the D.C. Circuit observed that Dr. Foretich was “[o]nce a prominent

oral surgeon,” that “[his] business suffered a 30% decline following adoption of the Act,” that he

was “[f]orced to seek employment outside of northern Virginia, denied a position at a North

Carolina university in part because of the Act,” and that he was “asked to resign his position as

Regent of the American College of Oral and Maxillofacial Surgeons.” Foretich, 351 F.3d at

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1209. The D.C. Circuit did not, however, require Dr. Foretich to show that patients who had left

his practice would return to him upon invalidation of the Act, or that other identified injuries

would be redressed. Yet that is what Defendants claim Kaspersky Lab must demonstrate for the

Court to resolve this case.

       Plaintiffs need to demonstrate only that rescission likely would redress the discrete harm

stemming from the BOD’s labelling of Plaintiffs’ products as “information security risks” to

federal government information systems. Indeed, as the Supreme Court has stated, “a plaintiff

satisfies the redressability requirement when he shows that a favorable decision will relieve a

discrete injury to himself. He need not show that a favorable decision will redress his every

injury.” Larson v. Valente, 456 U.S. 228, 243 n.15 (1982) (emphasis in original).

       Finally, Defendants’ citation to McBryde v. Committee to Rev. Cir. Council Conduct, 264

F.3d 52 (D.C. Cir. 2001)(see Opp. at 24) in support of its redressability argument is equally

unhelpful. In McBryde, the court held that a censured district judge had standing based on

reputational injury to challenge his public reprimand, but lacked standing to challenge his record

of suspensions, which had expired and become moot. See id. at 55-58. Here, the BOD is not

moot, and is the type of reputational injury the McBryde court found was capable of judicial

redress.

             B. Plaintiffs Had Standing to Challenge the BOD When They Filed Their
                Complaint.

       Defendants argue that, notwithstanding the challenge to the NDAA filed in February of

this year, Plaintiffs lacked standing to challenge the BOD at the time the Complaint was filed in

December 2017 because, although it had not yet taken effect, the NDAA had been enacted by

that time.


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       Plaintiffs filed their Complaint in this case shortly after the NDAA’s enactment, also

having, in good faith, exhausted Defendants’ proscribed process to challenge the BOD. During

the course of these efforts, the U.S. Congress took additional detrimental action against the

Company through the NDAA. That subsequent action, which Plaintiffs are also challenging in a

timely fashion, should not be determinative of Plaintiffs’ standing to challenge their earlier

debarment via the BOD.

       As discussed above, the NDAA is not a legally effective ban on Plaintiffs’ products and

services today, nor was it at the time that the Complaint was filed. Defendants fail to cite to a

single case that holds parties must mount pre-enforcement challenges to any statutes that may in

the future affect their rights in order to maintain standing.5 The BOD causes (and had caused at

the time that the Compliant was filed) significant reputational harm that is discrete from the

NDAA and fairly traceable to the BOD.

       Defendants also argue, in the alternative, that proceeding by way of two separate claims

precludes standing in either and that in order to challenge the BOD and the NDAA, Plaintiffs

must have challenged them in the same action. Opp. at 21. This argument is also without merit.

For the reasons set out above, Plaintiffs had standing to challenge the BOD under the APA at the

time that the Complaint was filed.     Plaintiffs’ standing does not rest on their also having

challenged the NDAA. The fact that Plaintiffs also subsequently challenged the NDAA which


5
 The few cases cited by the government are irrelevant. U.S. ex rel. Hampton v. Columbia/HCA
Healthcare Corp., 318 F.3d 214, 216 (D.C. Cir. 2003) has nothing to do with standing at the time
of suit; it deals with the wholly unrelated question of appeal rights and whether “a judgment
entirely disposing of any one of [multiple consolidated] cases might be considered final and
appealable.” And, Conservation Law Found. v. Pritzker, 37 F. Supp. 3d 234, 243-44 (D.D.C.
2014) concerned only whether any harm had occurred in the first place and, in any event,
rejected a similar form-over-function standing argument.

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also harms them, does not preclude that standing, nor does it concede it. Plaintiffs could have

brought either of these cases without bringing the other. They chose to bring both.6

       II. Defendants Have Failed to Afford Sufficient Due Process.

       Defendants have failed to achieve the minimum due process protections necessary to

sustain the BOD’s debarment. Due process requires pre-deprivation notice and a meaningful

opportunity to be heard. See Ralls Corp. v. Comm. on Foreign Inv. in the U.S., 758 F.3d 296, 318

(D.C. Cir. 2014). Defendants now argue that the BOD was itself notice and the 30-60-90 day

period that followed constituted a meaningful review, during which Plaintiffs were heard, prior

to the final decision issued in December 2017. Opp. at 28. Defendants argue that Plaintiffs are

asking for “pre-pre” deprivation notice. Opp. at 13. They are not. Rather, Plaintiffs simply are

relying upon well-established constitutional protections afforded to those subject to debarment

from federal contracting. Defendants circumvented these protections through the use of FISMA

in an unprecedented and unanticipated manner. Defendants’ arguments ignore the injuries

Plaintiffs suffered immediately upon issuance of the BOD. They also seek to place debarment

via FISMA beyond judicial review and in so doing, over-rely on the national security context to

limit their constitutional due process obligations to Plaintiffs.

           A. The BOD Decision was Final at the Time of its Issuance.

       As explained at length in Plaintiffs’ Memorandum of Law in Support of Summary

Judgment, the BOD was fully final and injurious at the time that it was issued. See Doc. No. 19

at 2, 11-16, 18, 26. No notice or opportunity to be heard was afforded by Defendants prior to that

time, as was required. See id. at 6-10, 30-32.

6
 Defendant’s reliance on US Ecology, Inc. v.U.S. Dep’t of Interior, 231 F.3d 20, 25-26 (D.C. Cir.
2000) is also misplaced. That case turned on the fact that none of the possible remedies in the
parallel case would have cured the standing issue.
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       Defendants now seek to retroactively argue that the BOD itself was a pre-deprivation

notice and that no decision was made or injury caused to Plaintiffs prior to the Final Decision in

December 2017. Opp. at 28. This argument has no support in the administrative record and

mischaracterizes the approach taken by Defendants throughout this post-BOD process. The 30-

60-90 day structure was always an implementation phase and never an administrative review

period. DHS’s own press release accompanying issuance of the BOD makes clear the simple

chain of events. Specifically, (1) DHS determined that Kaspersky Lab products present an

“information security risk,” and (2) DHS then unconditionally “directs” agencies to take action:

      After careful consideration of available information and consultation with
      interagency partners, Acting Secretary of Homeland Security Elaine Duke today
      issued a Binding Operational Directive (BOD) directing Federal Executive Branch
      departments and agencies to take actions related to the use or presence of
      information security products, solutions, and services supplied directly or indirectly
      by AO Kaspersky Lab or related entities.

See www.dhs.gov/news/2017/09/13/dhs-statement-issuance-binding-operational-directive-17-01

(emphasis added). At the conclusion of the press release, DHS stated that it intended to give

Kaspersky Lab an “opportunity” to respond—but this conclusory assertion in no way suggests

that the directed action is somehow contingent or provisional based upon the Company’ response:

       DHS is providing an opportunity for Kaspersky [Lab] to submit a written response
       addressing the Department’s concerns or to mitigate those concerns. The
       Department wants to ensure that the company has a full opportunity to inform the
       Acting Secretary of any evidence, materials, or data that may be relevant.

Id. That the BOD included a proviso related to the 90-day removal date—“unless directed

otherwise by DHS based on new information”—is of no moment. DHS was free to change

direction with or without this proviso. And, it is telling that this did nothing to inhibit agencies

from removing the software ahead of the 90-day mark. Procedural due process would be
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meaningless if an agency could transform direction into notice and pre-deprivation process by

the mere inclusion of the superfluous language: “unless directed otherwise.”

       In describing the BOD in their Opposition, Defendants betray their true intent: “DHS, on

September 13, 2017, Issued BOD 17-01…Acting Secretary Elaine Duke issued the directive

after determining that the presence of Kaspersky [Lab] products on federal information systems

presents a ‘known or reasonably suspected threat, vulnerability or risk’ to federal information

and information systems.” Opp. at 10 (emphasis added). Accordingly, it is clear that the relevant

determinations for the purpose of this APA action had been made prior to, or immediately upon,

the issuance of the BOD on September 13, 2017, without any notice to Plaintiffs or a meaningful

opportunity to be heard.

       In its continued series of contradictions, and just three pages later in their Opposition,

Defendants argue the same decision was in fact made in December and then only “[a]fter closely

reviewing the company’s submission.” Opp. at 13. In so doing, Defendants again conflate the

BOD as pre-deprivation “notice” and the 30-60-90 day structure as a pre-deprivation

consultation period.   It was neither.    Rather, the BOD set in motion a process for the

identification and removal of Plaintiffs’ products from federal information systems with no

genuine prospect of reversal.

           B. Plaintiffs Suffered Injury Long Before the Final Decision.

       In issuing the BOD, Defendants announced publicly and indicated to all federal agencies

that they had determined Kaspersky Lab products to be a “known or reasonably suspected threat,

vulnerability or risk” to federal information systems. The injury was immediate. This is clearly

evidenced by the actions taken by a number of agencies to remove Plaintiffs’ software prior to

the 90-day mark. See Memorandum of Law in Support of Summary Judgment at 11. It makes

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little difference that Defendants did not expressly direct any agency to do so, the reputational

injury caused prior to the 90-day mark is self evident, and would not have occurred but for the

manner in which the BOD was issued.

       Indeed, Defendants make precisely this argument with respect to the effective date of the

NDAA and its implementation, arguing that prior to its effective date, the impending ban makes

the “prospect of doing business with Kaspersky during the implementation period a practical (if

not legal) impossibility […] The NDAA ban embodies a legislative judgment that the security

risk posed by Kaspersky [Lab] software on federal networks is intolerably high.” Opp. at 18.

Defendants cannot simultaneously argue that the BOD caused Plaintiffs no injury prior to the

“Final Decision” as DHS’ judgment as to Plaintiffs’ products was equally clear and final at the

time the BOD was issued.

       Ample opportunity was available for Defendants to provide Plaintiffs notice and a

meaningful opportunity to be heard prior to issuance of the BOD. Defendants failed to engage

with Plaintiffs prior to the issuance of the BOD even though Plaintiffs voluntarily and

proactively offered to share information about the operation of Kaspersky Lab products two

months earlier (see AR 749-50 [Ex. A]). Rather, Defendants claim that “[i]n the weeks and

months before the BOD, the Department engaged in extensive consultations with its

cybersecurity experts and interagency partners and reviewed information from a variety of

sources […].” Opp. at 11. However, Defendants failed to consult or engage with the one source

with which they were constitutionally obliged to: Plaintiffs.

       If, as they now argue, the period between the issuance of the BOD and the Final Decision

represented a “fact finding” or “information-gathering” stage, and a pre-deprivation opportunity

for Plaintiffs to be heard (Opp. at 29), Defendants could have designed a process which fulfilled

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that objective. For example, DHS might have directed agencies to identify whether they were

using Plaintiffs’ products (singularly or in combination with other anti-virus software). At the

same time, Defendants could have given Plaintiffs proper pre-deprivation notice, the

administrative record, and an opportunity to be heard, before instituting the debarment. Such a

notice would have come closer to the type of pre-deprivation notice considered sufficient before

imposing, for example, the designation of a party as a foreign terrorist organization in Nat’l

Council of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 207 (D.C. Cir. 2001).

       In that case, the D.C. Circuit found it was “not immediately apparent” how providing

notice would work any harm to the government’s interest in “national security.” Id. at 207, 208.

As set out in greater detail below, nothing in the record suggests an “extraordinary situation,” or

that “it would be impractical to provide pre-deprivation process,” or that this is one of those

“limited cases demanding prompt action.” Id. Based on the record before the Court, pre-

deprivation process would have in no way inhibited the government’s interest in national

security.

       During the course of such a process, DHS could have made an informed decision

regarding the information security risks (if any) presented by Plaintiffs’ (and others’) software

and notified agencies of how those risks could be properly and consistently mitigated.

       The record is clear: Defendants proceeded otherwise.

            C. Defendants Seek to Retroactively Demonstrate Due Process where None
               Existed.

       Defendants incorrectly claim that the BOD Information was provided “at the beginning

of the administrative process” (Opp. at 36), implying a level of forethought and planning on

behalf of Defendants where none actually existed. Defendants failed to provide the BOD

Information to Plaintiffs until September 29, 2017 (two weeks after the BOD had been issued,
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and Plaintiffs were notified), and then only following request of Plaintiffs’ counsel. See Doc.10-3,

Decl. of Ryan Fayhee at ¶ 8.

       Defendants also now argue that their engagement with Plaintiffs amounts to “a fully

interactive process.” Opp. at 13. The record demonstrates otherwise. Despite repeated requests

by Plaintiffs’ counsel for immediate engagement (See Email Correspondence between Ryan

Fayhee and Daniel Sutherland, Fayhee Decl. at Ex I) plaintiffs were only afforded a meeting

with DHS following its formal submission. The meeting occurred on November 29, 2017, over

two months after the BOD was issued. The meeting was clearly not planned or anticipated to be

part of any due process at the time of the BOD and was intended only to give the appearance of

an adequate process. The meeting was perfunctory and not indicative of meaningful

consideration or due process, as shown by the issuance of the Final Decision only a week later,

on December 6, 2017.

       Right up to, and including in the Final Decision and its Information, Defendants

continued to introduce new materials and arguments into the administrative record (including but

not limited to the “Maggs Report”). Defendants now list the Maggs Report and the supplemental

National Cybersecurity and Communications Integration Center (“NCCIC”) report included with

the Final Decision in its list of documents forming part of the administrative record, to which

they argue Plaintiffs had opportunity to respond, as if those documents had been available to

Plaintiffs from the beginning. Doc. No. 20-3.

           D. Defendants’ Administrative Process Fell Short of the Well-Established
              Requirements in the FAR.

       Defendants argue that “the process afforded to Kaspersky [Lab] not only meets [the FAR

requirements], but even exceeds it in important ways” (Opp. at 29) and that “any differences


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between the two procedures are not of constitutional dimension.” Opp. at 31. Defendants’

comparison to the FAR process is flawed.

       Pursuant to the FAR, debarring officials must provide formal notice of proposed

suspension and/or debarment, including: (1) the reasons for the proposed debarment in terms

sufficient to put the contractor on notice of the alleged conduct upon which the action is based,

(2) notice of the opportunity to submit information and arguments in opposition to the proposed

debarment within 30 days of receipt of the notice, (3) procedures that will govern the agency’s

decision-making process, and (4) the effects of proposed and actual debarment. See 48 C.F.R.

Part 9.406-3(c). Critically, the debarring official’s decision may be made only after receipt of

information and argument from the contractor. See 48 C.F.R. Part 9.406-3(d)(1).

       In defense of their process, Defendants first claim that Plaintiffs were afforded “52 days –

more than three weeks longer than the 30 days required under the FAR” to respond to the BOD.

Opp. at 30. Defendants nowhere in their comparison consider, however, that the length of time

(here an additional 22 days) to craft a response is immaterial given that the FAR process is to

conclude before any debarment can take effect. Contrary to Defendants’ conclusory analysis,

this difference is absolutely of a “constitutional dimension.” It is at the core of a constitutionally

sound process.

       Second, Defendants argue that “debarment procedures afford less pre-deprivation process

[than the BOD], because a ‘proposed debarment’ results in a contractor’s immediate exclusion

from federal business pending a final decision from the debarment officer.” Opp. at 30. In

contrast, the BOD debarment was effective and immediate at the time that the BOD was issued

in September. The BOD debarment also goes further than a FAR debarment in requiring the

unwinding of prior engagements through the removal of existing instances of Plaintiffs’ software

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on federal systems in addition to the prospective debarment that would have been contemplated

by the FAR.

       The national security-related context alone does not sufficiently insulate Defendants from

the need to provide adequate due process as Defendants suggest. See Opp. at 32.

       Although there may be “cases where an alleged debarment implicates national security

concerns [and] the procedural protections ordinarily afforded to contractors may be significantly

diminished,” this is no such case. The government’s reliance on a single case in order to

establish a national security exception to the due process clause is unhelpful here. See Opp. at 32

citing MG Altus Apache Co. v. United States, 111 Fed. Cl. 425 (Ct. Fed. Cl. 2013) (examining

due process requirements in “the environment of a warzone when the required notice would

necessarily disclose classified material and could compromise national security.”)(emphasis

added). This case is of no moment because providing notice would not “require disclosure of

classified information...” DHS’s decision is based on the unclassified record alone. Opp. at 11.

The Court cannot consider evidence (classified or otherwise) that is not part of the record upon

which the agency decision was made.

           E. There is No Basis to Limit Plaintiffs’ Procedural Protections.

       In response to Plaintiff’ detailed analysis under Matthews v. Eldridge, 424 U.S. 319

(1976)), see Memorandum of Law in Support of Summary Judgment at 29-37, Defendants argue

that “the government’s interest in responding quickly and nimbly to imminent, potentially

catastrophic cyber threats is entitled to significant weight” such that “the process that Kaspersky

received was more than sufficient to satisfy the constitution.” Opp. at 32. However, nothing in

the administrative record or in Defendants’ Opposition indicates urgency of a degree that would

outweigh the Plaintiff’s right to pre-deprivation notice. To the contrary, Defendants (at Opp. 8 n.

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1) cite to a 2012 Wired magazine article which contains many of the same arguments upon which

Defendants seek to rely in support of the BOD over five years later.

       The only significant recent development was intense political scrutiny and public

pressure following Russia’s apparent interference in the 2016 presidential election (and a wide

range of other unrelated foreign policy and national security concerns involving Russia), in

which there is no allegation Plaintiffs had any involvement. See Opp. at 15. This political

pressure culminated in the issuance of the BOD and the enactment of the NDAA, both of which

bowed, unconstitutionally, to that pressure in singling out and punishing Plaintiffs and depriving

them of their due process rights. Defendants now conflate the fact that DHS acted quickly

against Plaintiffs in that context with the necessity and justification for them to do so. See Opp.

at 34. None of the factors referred to by Defendants suggest that Plaintiffs’ products represented

any greater threat to national security at the end of 2017 than they had at any time in the past.

       This Circuit has found consistently that due process, including pre-deprivation notice and

a meaningful opportunity to be heard, must be provided, including in cases involving sensitive

administrative decisions in the national security context.7 What is more, even on Defendants’

own operational timeline, ample opportunities existed to provide Plaintiffs notice and a

meaningful opportunity to be heard prior to the BOD being issued. Through the summer of 2017

and well before the BOD was issued in September, Plaintiffs stood ready, willing and able to

engage with Defendants on any issues of concern, having proactively written to them in July

2017 (see AR 749-50 [Ex. A]) to do just that in response to the same media reports that came to

form the basis for the BOD.


7
 See, e.g., Nat’l Council of Resistance of Iran v. Dep’t of State, 251 F.3d 192, 196 (D.C. Cir.
2001) and People’s Mojahedin Organization of Iran v. Dep’t of State, 613 F.3d 220, 228 (D.C.
Cir. 2010) discussed at Memorandum of Law in Support of Summary Judgment at 31 - 35.
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       Tellingly, in their Opposition, Defendants fail to address why Plaintiffs’ proactive

outreach to Defendants prior to the issuance of the BOD was rebuffed (see AR 940 [Ex. B])

(suggesting that no administrative action was pending), or why notice and due process could not

have been provided at that time, before the BOD was issued.

       III. Defendants Overstate the Degree of Discretion Under FISMA and the Degree of
           Deference Under the APA

       In the alternative, and assuming a deficient process, Defendants argue either that the

relevant provision of FISMA renders the BOD unreviewable under the APA (claiming FISMA

affords absolute discretion to DHS in issuing binding operational directives) and/or that

enhanced deference ought to be granted to the Defendants in light of the national security context,

urgency, and “highly technical” nature of the BOD’s subject matter. Opp. at 36, 38, 40.

Defendants’ arguments again fall short as set out below.

           A. Binding Operational Directives Issued Under FISMA are Subject to APA
              Review.

       Defendants argue that “numerous plaintiffs have brought APA challenges seeking to

enjoin agency decisions under [FISMA],” yet “[n]ot one of these suits has prevailed, and every

court to consider the issue has agreed that decisions under FISMA are committed to agency

discretion and thus outside the scope of APA review.” Opp. at 4. Defendants cite only three

FISMA cases in support, each involving class actions seeking monetary damages, but none

remotely instructive here. See Opp. at 38-40.8 Defendants have not referenced a single case in


8
 See Opp. at 38-40 (citing Welborn v. IRS, 218 F. Supp. 3d 64 (D.D.C. 2016)(victims of cyber
breaches at federal agency suing agency, alleging its failure to comply with FISMA); In re U.S.
Office of Pers. Mgmt. Data Sec. Breach Litig., 266 F. Supp. 3d 1, 43-44 (D.D.C. 2017)(same);
and Cobell v. Kempthorne, 455 F.3d 301, 303 (D.C. Cir. 2006)(class action, brought prior to
2014 amendment of FISMA, by beneficiaries of American Indian money trust accounts, based
on “[Department of] Interior’s problems maintaining adequate computer security”). As
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which a FISMA binding operational directive has been challenged under the APA, and for good

reason: this is the first such challenge.

        This is not a case where Plaintiffs “attempt to use the APA to police a federal agency’s

actions” under FISMA. Opp. at 4. Rather, Defendants have used FISMA to effectuate an

immediate debarment. They cannot escape the availability of the APA to challenge debarment

decisions, particularly where debarment is effected in a more draconian fashion through the

novel use of a statute neither designed, nor intended for this purpose. FISMA was established,

and in fact specifically amended, so that DHS could establish uniform security standards through

binding operational directives and to otherwise protect federal information systems9, not as an

implicit repeal of the well-established debarment processes delegated to the executive branch

under the FAR.10




Defendants’ lead case makes clear, these “stand[] in stark contrast and are wholly inapplicable”
to the reviewability issue at hand. See Watervale Marine Co. v. DHS, 55 F. Supp. 3d 124, 135,
140 (D.D.C. 2014)(internal quotation omitted)(“All other courts that have addressed this
statutory provision have done so under markedly different circumstances”).
9
 Indeed this is exactly how DHS has used its BOD authority under FISMA in the past. Prior to the
BOD at issue here, DHS issued four public cybersecurity BODs. Each of these BODs required
federal agencies to mitigate critical vulnerabilities on their internet-facing systems identified by
NCCIC (BOD 15-01: Critical Vulnerability Mitigation), impose technical measures designed to
secure high value assets containing sensitive information or supporting critical government
services (BOD 16-01: Securing High Value Assets), mitigate threats to network infrastructure
devices by implementing a series of upgrades, configuration changes, inspections (BOD 16-02:
Threat to Network Infrastructure Devices), and comply with a series of cybersecurity reporting
requirements (BOD 16-03: 2016 Agency Cybersecurity Reporting Requirements). BOD 17-01 is
the first known BOD issued pursuant to FISMA in which the DHS banned a specific company by
name, or labeled all products of a specific company an information security threat. DHS also
issued one public BOD since BOD 17-01, which was consistent with the first four BODs and
required federal agencies to make a series of configuration changes to enhance email and web
security (BOD 18-01: Enhance Email and Web Security).
10
  Kawasaki Kisen Kaisha, Ltd. v. Regal-Beloit Corp., 561 U.S. 89, 108 (2010) (statutes should be
construed to be consistent with one another where the text permits).
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       Defendants also contend that “Kaspersky [Lab] does not meaningfully engage with the

framework for considering whether an action is committed to agency discretion.” Opp. at 40.

This is not the case. Plaintiffs set out at length in their Memorandum of Law in Support of

Summary Judgment at 39-41 the reasons why FISMA, and in particular the provision providing

for the issuance of a BOD, is not part of the very narrow category of administrative action that is

intended by Congress to be entitled to absolute agency discretion under law. In sum, the APA

embodies the basic presumption of judicial review of a legal wrong because of agency action and

adversely affected or aggrieved by agency action within the meaning of a relevant statute. See

generally, Delta Air Lines v. Export-Import Bank of the U.S., 718 F.3d 974, 976 (D.C. Cir.

2013)(internal quotations omitted). This is exactly where Plaintiffs find themselves.

       In an attempt to place the BOD beyond administrative review, Defendants apply a three-

part test, inviting the court to evaluate: (1) “the nature of the administrative action at issue”; (2)

the “language and structure of the statute that supplies the applicable legal standards for

reviewing that action,” and (3) “Congress’ intent to commit the matter fully to agency discretion

as evidenced by…the statutory scheme.” See Opp. at 36 (citing Watervale, 55 F. Supp. 3d at

137-38 (internal quotations omitted)).

       Under the first factor, the BOD clearly is not one of the “categories of administrative

decisions that the Supreme Court and the D.C. Circuit consider presumptively unreviewable”—

as in “[f]or example, an agency’s refusal to take enforcement action.” Id. at 138 (internal

quotation omitted). Rather, as DHS makes clear in both its Information and Decision

Memoranda, the BOD has effectuated a retroactive and prospective debarment. See Information

Memo for Acting Secretary, Sept. 1, 2017, at AR0005-AR0006 and Acting Secretary Decision

Memo, Sept. 13, 2017, at AR0631, sections entitled “DEBARMENT.” Debarments are a class

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of administrative actions routinely subject to judicial review. Accordingly, the novel means of

this debarment cannot defeat the general presumption of reviewability.

       Under the second factor, Congress need only “provide[] a meaningful—not a rigorous,

but neither a meaningless—standard against which to judge the exercise of agency discretion.”

Arent v. Shalala, 70 F.3d 610, 614 (D.C. Cir. 1995). Clearly, FISMA provides meaningful

standards that qualify DHS’ discretion in issuing BODs, and has not “vested [DHS with]

complete discretion,” as Defendants claim. See Opp. at 37.           Nor is it determinative, as

Defendants suggest, that there is no statutory construction of what constitutes a “known or

reasonably suspected information security threat, vulnerability, or risk.” It is within the court’s

purview to interpret these qualifications based on their plain meaning or comparative legal

concepts.

       Applying the third factor—Congress’ intent as evidenced by the statutory scheme—as

discussed supra, Defendants simply cite to inapplicable FISMA-related class actions that are of

no moment here.      Defendants seem to acknowledge these cases’ inapplicability to DHS’

authority under FISMA to issue BOD’s, see Opp. at 39, but then inaccurately conclude that “the

Secretary’s authority to issue BOD’s is at least as broad and discretionary as the authorities that

these courts found to be committed to agency discretion.” Id. Defendants fail, however, to offer

any support in favor of their broad contention and implication that Congress intended to allow

DHS to effectuate a debarment beyond the reach of judicial review.

       Plaintiffs’ debarment through the BOD is clearly the type of administrative action subject

to judicial review. FISMA presents a standard by which the administrative decision can be

tested and there is no indication that Congress intended FISMA to be used in the present manner,



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much less that doing so would allow for the circumvention of well-established constitutional

protections around the debarment process.

       Finally, and again here, the national security context is not dispositive. See Opp. at 32,

citing Dep’t of Navy v. Egan, 484 U.S. 518, 530 (1988). In fact, the case Defendants cite for this

proposition confirms that courts must review an agency’s decision where Congress provided

standards governing the agency’s conduct. Egan, 484 U.S. at 530. Specifically, Egan held that

courts traditionally have been reluctant to intrude upon the authority of the executive in military

and national security affairs unless Congress specifically has provided otherwise. Id. Since there

was no right to the security clearance in Egan, Congress prescribed no particular standards

governing their issuance, thereby allowing the executive to retain subjective and discretionary

authority over the award of security clearances.       In this instance, however, Congress has

provided a meaningful standard by which the exercise of DHS’ BOD authority is measured

under FISMA. Thus, Plaintiffs’ right to the sell to the government is afforded greater protection

and is accordingly reviewable under the APA.

           B. The BOD is Primarily Based on Media Reports.

       Defendants also argue that this is a circumstance in which enhanced deference is due to

their administrative decision-making process as a consequence of the “expert-driven and highly

technical” nature of the BOD and its subject matter. Opp. at 40. In reality, the BOD is neither

highly technical nor expert-driven; the underlying administrative record consists almost entirely

of unsubstantiated media reports and allegations against the Company, all of which the Court is

well within its capability to review for their evidentiary value. The “highly detailed” memoranda

(Opp. at 3) accompanying the BOD and the Final Decision, upon which Defendants rely as the



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basis for their decision, are in reality only compilations of those publications, and the “hundreds

of pages of source exhibits” (Id. at 12) largely consist of copies of the articles themselves.

       This approach is perpetuated in the Opposition, extending the page count of the

Administrative Record, but lending nothing to the underlying substance (or rather lack thereof).

Defendants continue to cite media articles in purported support for their Opposition (Opp. FN 1),

as if they were determinative of fact, and as a substitute for genuine or meaningful agency fact-

finding. What is more, Defendant’s entire “Factual Background” section of their Opposition is

taken from the unsubstantiated allegations made in the Administrative Record, based on media

articles and are presented, without attribution, as uncontroverted facts. They are as inaccurate

and speculative as they are self-serving. Since the substance of those allegations are not

determinative of this Motion, and since Plaintiffs have already responded to these substantive

issues in detail in the Kaspersky Lab Submission, AR 0647-0750, Plaintiffs do not intend to

address or refute them here, save to note their continued objections on the same basis.

       Defendants claim their reliance on media reports is appropriate by citing cases where the

articles are verifiable and “part of the unclassified record” (as in Zevallos) or as part of “a broad

range of evidence” that was the product of a meaningful investigation (as in Holy Land

Foundation). However, as explained in the Memorandum of Law in Support of Summary

Judgment at 42-43, in neither of these cases did the record reflect such a heavy reliance on the

media as a substitute for an independent factual basis.

       The D.C. Circuit’s express rationale for permitting reliance on news articles is

inapplicable here: (i) there is no need to protect confidential information, because the BOD is not

“based in part on classified information;” (ii) there are no “logistical or political difficulties

obtaining judicial or law enforcement records from other countries;” (iii) there are no

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“diplomatic concerns…limiting what [the agency] can say publicly”—to the contrary, DHS has

been frank about its views; and (iv) there is no suggestion in this case that “the safety of

investigators or informants might be put at hazard.” See Zevallos v. Obama, 793 F. 3d 106, 113

(D.C. Cir. 2015).

       Moreover, in the cases allowing for such reliance, the media articles were used only to

establish discrete facts—not ultimate legal conclusions, as here. See, e.g., id. at 112 (reliance on

newspaper articles that a designated drug kingpin controlled overseas assets). See also, People’s

Mojahedin Organization v. State, 182 F. 3d 17, 24-25 (D.C. Cir. 1999)(“[T]he Secretary had

before her information that each of the organizations engaged in bombing and killing in order to

further their political agendas. Any one of the incidents…would have sufficed under the

statute.”). And, in Holy Land Foundation v. Ashcroft, 333 F. 3d 156, 162 (D.C. Cir. 2003), the

D.C. Circuit made clear that, while the terrorist designation could be based on “a broad range of

evidence, including intelligence data and hearsay declarations”—Treasury’s decision “was based

on ample evidence in a massive administrative record”—including “testimony of numerous FBI

sources and findings by both Israeli and Palestinian governmental authorities.” (emphasis added).

       In contrast, as stated in Plaintiffs’ Memorandum of Law in Support of Summary

Judgment, many sections of the BOD Information and key DHS findings in support of the

BOD’s three elements11 (and particularly the second and most critical of those three elements,

the alleged ties between certain Kaspersky officials and Russian intelligence) are supported

exclusively by uncorroborated media reports.
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   The three elements are: (1) the broad access to files and elevated privileges provided by
antivirus products and services, including Kaspersky products, that can be exploited by malicious
cyber actors to compromise information systems; (2) ties between certain Kaspersky officials
and Russian intelligence and other government agencies; and (3) Russian legal provisions that
allow Russian intelligence agencies to request or compel assistance from Kaspersky and to
intercept communications transiting Russian networks. See AR 0018-0019.
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       Defendants also contend that to escape the BOD, Plaintiffs bear the burden of proving

their own innocence by “rebut[ting] or disprov[ing]” these media reports. Opp. at 43. In

responding to the BOD (AR 0647-0750), Plaintiffs did address the allegations levied against the

Company and highlighted the deficiencies in the evidence presented through these media reports.

Plaintiffs had no burden to do so. To survive the “arbitrary and capricious” standard, the

defendant is required to demonstrate that it “examine[d] the relevant data and articulate[d] a

satisfactory explanation for its action including a rational connection between the facts found and

the choice made.” Am. Coll. of Emergency Physicians, 264 F. Supp. 3d at 93-94, quoting Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

Defendants have failed to do so.

       Defendants claim that the “BOD was issued only after extensive investigation and

consultation with cyber security experts inside and outside of the [DHS].” Opp. at 1. But

nowhere in the administrative record is there any indication of these consultations. The only

support cited are two internal reports authored by the NCCIC.          NCCIC falls under DHS’

jurisdiction; it can hardly be considered an independent assessment or the product of an

interagency review.

       Plaintiffs explained the flaws with the NCCIC reports in their Memorandum of Law in

Support of Summary Judgment at 43. Defendants’ reports speak principally in generalities

regarding the functionality of anti-virus software and the threat Russia and its government pose

to U.S. cyber security. Defendants perpetuate these generalities in their Opposition at 43-45 and

they are insufficient for the administrative record here to survive APA review.

       Once again in their Opposition, Defendants allude to classified information reviewed (but

purportedly not relied upon) by the Acting Secretary, Opp. at 11-12, implying that the existence

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of such a record, regardless of its content, lends weight to their arguments on national security

grounds. They also attempt to equate the due process and administrative record requirements

owed to Plaintiffs to those afforded in cases “involving national security decisions that are based

in part on classified information.” Opp. at 28. At the same time, Defendants also reiterate their

claim, as they have done throughout this process, that “DHS believes that the BOD can be

sustained on the basis of the unclassified portions of the administrative record.” Opp. at FN 12.

An APA challenge examines only what the agency actually considered and relied upon in

making its decision. If Defendants in fact did not rely on the classified record, they should strike

their repeated references to the classified record, and comport their due process arguments to

those cases where, as they contend here, the agency did not rely upon a classified record.

       Plaintiffs are not asking the Court to “second guess” any determination of DHS (as

Defendants allege at Opp. 45). Rather, Plaintiffs simply request that the Court give effect to the

requirements of the APA and Plaintiffs’ constitutional right to due process, and that Defendants

be required to properly consider this matter in line with their legal and constitutional obligations.

                                         CONCLUSION

       For the reasons set out above and those set out in Plaintiffs’ Memorandum of Law in

Support of Summary Judgment, Plaintiffs respectfully request that the Court grant Summary

Judgment in their favor, deny Defendants’ Motion to Dismiss and Cross-Motion for Summary

Judgment, and remand to DHS for further proceedings that comport with procedural due process

and the evidentiary requirements of the APA.




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Dated: April 9, 2018,

Respectfully submitted,

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